       Case 4:13-cr-00142-DLH          Document 235         Filed 05/14/14      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Clay Brooke Left Hand,                        )
                                              )       Case No. 4:13-cr-142-03
               Defendant.                     )


       On May 5, 2014, defendant filed a Motion for Inmate Transport. She requests that she be

released to Centre, Inc. in Fargo, North Dakota, pending sentencing. She also requests that she be

transported to Centre, Inc. by the United States Marshal’s Service.

       The government filed a response to defendant’s motion on May 13, 2014, advising that it has

no objection to defendant’s request. Accordingly, the court GRANTS defendant’s motion (Docket

No. 232) and ORDERS that defendant be released subject to the following conditions:

       (1)     Defendant must not violate federal, state, tribal, or local law while on release.

       (2)     Defendant must advise the Pretrial Services Office and defense counsel in writing

               before making any change in address or telephone number.

       (3)     Defendant must appear in court as required and must surrender to serve any sentence

               imposed.

       (4)     Defendant shall reside at Centre, Inc. in Fargo, North Dakota, and comply with all

               rules and regulations of the facility. Defendant shall begin such residence upon

               transport to the Centre, Inc., by the United States Marshal’s Service at its earliest

               available opportunity. Defendant shall remain in detention until the United States


                                                  1
Case 4:13-cr-00142-DLH          Document 235         Filed 05/14/14       Page 2 of 2




       Marshal’s Service makes such transport.

(5)    Defendant shall report to the Pretrial Services Officer at such times and in such

       manner as designated by the Officer.

(6)    Defendant shall refrain from: any use of alcohol; any use or possession of a narcotic

       drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

       unless prescribed by a licensed medical practitioner; and any use of inhalants.

       Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

       Services Officer to verify compliance. Failure or refusal to submit to testing or

       tampering with the collection process or specimen may be considered the same as a

       positive test result.

(7)    Defendant shall submit her person, residence, vehicle, and/or possessions to a search

       conducted by a Pretrial Services Officer at the request of the Pretrial Services Officer.

       Failure to submit to a search may be grounds for revocation of pretrial release.

       Defendant shall notify any other residents that the premises may be subject to

       searches pursuant to this condition.

(8)    Defendant shall undergo a substance abuse and/or mental health evaluation if

       required by the Pretrial Services Officer and comply with resulting counseling or

       treatment recommendations.

Dated this 14th day of May, 2014.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




                                          2
